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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF COLORADO



 JIM FAYDENKO, STEPHEN CONTI, CHAD                                Civil Action No.: _________
 HIXON, and ENYINNAYA OKWULEHIE

                              Plaintiffs,

        v.

 VAIL RESORTS, INC. and
 THE VAIL CORPORATION d/b/a VAIL
 RESORTS MANAGEMENT COMPANY,

                              Defendants.




                              CLASS ACTION COMPLAINT



       Plaintiffs Jim Faydenko, Stephen Conti, Chad Hixon, and Enyinnaya Okwulehie, on

behalf of themselves and all others similarly situated, bring this class action against VAIL

RESORTS, INC. and THE VAIL COPORATION d/b/a VAIL RESORTS MANAGEMENT

COMPANY (collectively, “Defendants” or “Vail Resorts”) and respectfully allege the following:

                                   NATURE OF ACTION

       1.     Vail Resorts touts itself as “the premier mountain resort company in the world”

and to ski Vail, its premier resort, is “like nothing on earth™.” Vail Resorts sold a variety of




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daily and season passes for the 2019-20 season, including the Epic Pass, which it marketed as

“the best value and variety for unlimited skiing and riding.” 1

         2.      Vail Resorts announced in mid-March that due to the spread of COVID-19 it had

closed all of its North American ski resorts for the remainder of the 2019-20 ski season (“Vail

Closure”). Vail Resorts told its customers that “all season pass and Epic Day Pass products…are

non-refundable and non-transferable to another season.” 2

         3.      Plaintiffs bring this class action suit on behalf of themselves and all others

similarly situated to seek redress for Defendants’ refusal to refund fees after it closed all of its

North American ski resorts, well short of the promised duration of the ski season. Vail Resorts

collected fees from skiers, snowboarders (referred to herein as “riders”), and others, but then

deprived them of the promised “unlimited skiing and snowboarding” from October 2019 to June

2020.

                                             PARTIES

         4.      Plaintiff Jim Faydenko is a citizen of Colorado and resides in Morrison, Colorado.

Mr. Faydenko purchased an Epic Pass from Defendants for the 2019-20 season. Due to the Vail

Closure, Plaintiff Faydenko was prevented from using the entire value of his Epic Pass.

         5.      Plaintiff Stephen Conti is a citizen of California and resides in San Diego,

California. Mr. Conti purchased an Adult Epic 4-Day Pass from Defendants for the 2019-20

season. Due to the Vail Closure, Plaintiff Conti was prevented from using the entire value of his

Adult Epic 4-Day Pass.



1
    https://www.epicpass.com/info/epic-for-everyone-release.aspx (accessed on April 17, 2020).
2
    https://www.snow.com/info/message-to-our-guests.aspx (last accessed April 17, 2020).

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         6.      Plaintiff Chad Hixon is a citizen of Massachusetts and resides in Lynnfield,

Massachusetts. Mr. Hixon purchased an Epic Local Pass from Defendants for the 2019-20

season. Due to the Vail Closure, Plaintiff Hixon was prevented from using the entire value of his

Epic Local Pass.

         7.      Plaintiff Enyinnaya Okwulehie is a citizen of Minnesota and resides in Brooklyn

Center, Minnesota. Mr. Okwulehie purchased an Epic Local Pass from Defendants for the 2019-

20 season. Due to the Vail Closure, Plaintiff Okwulehie was prevented from using the entire

value of his Epic Local Pass.

         8.      Defendant Vail Resorts, Inc. is a Delaware corporation, with its principal place of

business in Broomfield, Colorado. Vail Resorts, Inc., among other things, owns and operates

mountain resorts and urban ski areas.

         9.      Defendant The Vail Corporation d/b/a Vail Resorts Management Company, is a

Colorado corporation, with its principal place of business in Broomfield, Colorado. The Vail

Corporation is a wholly-owned subsidiary of Vail Resorts, Inc.

                                   FACTUAL ALLEGATIONS

         10.     Vail Resorts, Inc. through its subsidiaries operates 37 destination mountain resorts

and regional ski areas, 34 of which are located in North America (“North America ski resorts”).

Vail Resorts touts itself as “the premier mountain resort company in the world.” 3

         11.     For the 2019-20 ski season, Defendants sold the Epic Pass, Epic Local Pass, and

Epic 4-Day Pass. Defendants represented that “the Epic Pass and Epic Local Pass continue to




3
    http://www.vailresorts.com/Corp/info/who-we-are.aspx (last accessed April 17, 2020).

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offer the best value and variety for unlimited skiing and riding.” 4 Defendants advertised that the

Epic Pass “provides unlimited, unrestricted access to all of the Company’s owned resorts and

additional access to partner resorts around the world.” Defendants sold the Epic Pass for $939 for

the 2019-20 season.

       12.     According to Defendants, the Epic Local Pass offered “[s]kiers and riders willing

to navigate around a few peak dates…access to many of the same destinations.” Defendants sold

the Epic Local Pass for prices starting at $699 for the 2019-20 season. The Epic Local Pass

carried certain blackout dates and limited the purchaser’s use at Vail Resort and Beaver Creek

Resort to a cumulative total of ten days.

       13.     Because the individual daily rates for ski and snowboard passes are high – for

instance at Vail resort over $200 – customers who anticipate skiing or riding a number of days

will assess their own needs and purchase the appropriate Epic Pass. Many people take Spring

Break ski vacations in March and April. For them, the cost effective way to purchase lift tickets

was to purchase one type of the Epic Pass.

       14.     However, to solidify its cash flow, Defendants required customers to purchase the

Epic Pass or Epic Local Pass no later than September 2019. Thus, Defendants received nearly

100% of their 2019-20 season lift ticket revenue from Plaintiffs and Class Members before the

ski season even began.

       15.     Defendants also offered the Epic Day Pass for sale in 2019-20. Defendants sold

the Epic Day Pass to customers who could select the number of days, from one to seven, and

whether or not to add holiday access. Purchasers “can use their customized Epic Day Pass

4
  https://www.vail.com/plan-your-trip/lift-access/passes/epic-pass.aspx (last accessed April 17,
2020)

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anytime through the season at any of the Company’s North American owned resorts” and would

be given access to other resorts if they purchased four or more days. Defendants’ prices for Epic

Day Passes for adults ranged from $106 to $731 and for children from $55 to $380, depending

on the number of days and holiday restrictions.

       16.     On June 3, 2019, Defendants published an article on its website titled “Earlier

Openings, Longer Season, and Enhanced Guest Experience for the 2019-20 Winter Season.” In

the article, Defendants stated that they were “providing Epic Pass holders and all skiers and

snowboarders in Colorado with one of the longest ski and snowboard seasons in the country.”

Moreover, Defendants stated, “With Keystone opening earlier and Breckenridge extending its

winter seasons into June, Epic Pass holders can enjoy skiing and snowboarding in Colorado from

October through May.” 5

       17.     On March 14, 2020, without any prior notification to Plaintiffs or Class Members,

Defendants initiated the Vail Closure by abruptly suspending all operations at their North

America ski resorts and retail stores for one week promising an update in the next few days. Two

days later, on March 17, 2020, Defendants announced “that all of its North American resorts and

retail stores will remain closed for the 2019-20 winter ski season amidst the continued challenges

associated with the spread of coronavirus (COVID-19).” 6




5
          http://blog.vail.com/capital-improvements-underway-at-vail-beaver-creek-breckenridge-
keystone-and-crested-butte-leading-to-earlier-openings-longer-season-and-enhanced-guest-
experience-for-the-2019-2020-winter-season/ (last accessed April 17, 2020).
6
  https://www.snow.com/info/vail-resorts-covid-19-resort-closing-update.aspx (last accessed
April 17, 2020)

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          18.    By closing all of their North American ski resorts effective March 15, 2020,

Defendants deprived Plaintiffs and Class Members of over 30% of the ski and snowboard

season.

          19.    Defendants also published a list of Frequently Asked Questions in connection

with the Vail Closure. One of the questions asked, “How does the closure impact my season pass

or Epic Day Pass?” Defendants answered, “To the extent that any of our resorts re-open during

the season, your pass will be valid. Pursuant to the terms of all season pass and Epic Day Pass

products, they are non-refundable and non-transferable to another season. We will be reviewing

these policies and providing any updated guidance in the coming weeks.” 7

          20.    Furthermore, while the Defendants’ Epic Pass website at www.snow.com

provided a “Refund” tab, once clicked, it reiterates that there are no refunds for the Epic Passes.

Additionally, Defendants maintain a Call Center for its Epic Pass customers. Defendants

shuttered that Call Center concurrent with their shutdown of the ski resorts. Consequently, no

holder of an Epic Pass can even discuss their situation or get details of why Defendants are not

providing any refunds for the Passes.

          21.    As part of the North America ski resort shutdown, Defendants eliminated virtually

all employees to greatly reduce their operating costs.

          22.    Thus, Defendants have eliminated virtually all of their costs of operating their

North American ski resorts, yet have refused to refund any portion of the costs paid for the Epic

Passes by Plaintiffs and the Class Members, which Passes were purchased with Defendants’




7
    https://www.snow.com/info/message-to-our-guests.aspx (last accessed April 17, 2020).

                                                 6
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representations they could be used for the full duration of the ski and snowboard season through

June 2020.

         23.   Instead, Defendants have retained 100% of the fees paid by Plaintiffs and Class

Members for their Epic Passes even after Defendants closed their resorts after only about two-

thirds of the ski season had occurred. Defendants have not refunded any portion of such Pass

fees.

         24.   Plaintiffs seek relief in this action individually, and on behalf of all of

Defendants’ customers nationwide that purchased annual Epic and Epic Local Passes for the

2019-2020 season or Epic Day Passes for the 2019-2020 season who, as of March 15, 2020, had

not used all of the days remaining on their Epic Day Passes. Plaintiffs seek relief for themselves

and all Class Members for Defendants’ breach of contract, breach of express warranties,

negligent misrepresentation, and unjust enrichment, as well as violations of state consumer

protection statutes.

                                JURISDICTION AND VENUE

         25.   This Court has subject matter jurisdiction over this controversy pursuant to the

Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), because (a) the proposed Class,

defined below, consists of more than one hundred members; (b) the parties are minimally

diverse, as members of the proposed Class are citizens of states different than Defendants’ home

state; and (c) the aggregate amount in controversy exceeds $5 million, exclusive of interests and

costs.

         26.   This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant

to 28 U.S.C. § 1367.


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       27.     This Court has personal jurisdiction over Defendants because Defendants’

principal places of business are within this District.

       28.     Venue is proper in this District under 28 U.S.C. § 1391 because Defendants

maintain their principal place of business within the District and a substantial part of the events

giving rise to Plaintiffs’ claims occurred here.

       29.     Plaintiffs bring this action on behalf of themselves and as a class action under

Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure seeking damages on behalf of

themselves and Class Members nationwide:

               All persons in the United States who purchased for the 2019-20
               season an Epic Pass, or an Epic Local Pass, or who purchased an
               Epic Day Pass with days remaining on the Day Pass for use at a
               Vail North American ski resort.

       30.     Excluded from the Class are: a) any Judge or Magistrate presiding over this action

and members of their families; b) Defendants, Defendants’ subsidiaries, parents, successors,

predecessors, and any entity in which Defendants or their parents have a controlling interest and

their current or former employees; c) persons who properly execute and file a timely request for

exclusion from the Class; d) the legal representatives, successors or assigns of any such excluded

persons; and e) all persons who have previously had claims finally adjudicated or who have

released their claims against Defendants similar to those alleged herein.

       31.     If necessary or alternatively, Plaintiffs also seek to represent subclasses of

individuals who purchased passes from Defendants in each of the 50 states and U.S. territories.

As detailed below in their respective causes of action, each state subclass is referenced by the

name of its state (e.g., the California Subclass).




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       32.     Collectively, unless otherwise so stated, the above-defined classes and subclasses

are referred to herein as the “Class.”

       33.     Plaintiffs reserve their right to amend the Class definitions if discovery or further

investigation reveals that any Class should be expanded or narrowed, divided into additional

subclasses under Rule 23(c)(5), or modified in any other way

       34.     While the exact number and identities of the Class Members are unknown at this

time, and can only be ascertained through appropriate discovery, on information and belief, the

Class is so numerous that joinder of all Class Members is impracticable. Also, on information

and belief, Vail Resorts maintains electronic records of all Epic Pass holders.

       35.     Common questions of law and fact exist as to all members of the Class. Such

questions of law and fact common to the Class include, but are not limited to, whether

Defendants breached their contract and/or their warranty with their customers, whether

Defendants negligently made misrepresentations, whether Defendants were unjustly enriched,

and whether Defendants violated certain state consumer protection statutes.

       36.     Plaintiffs’ claims are typical of the claims of all Class Members because such

claims arise from the Defendants’ wrongful conduct, as alleged above. Plaintiffs have no

interests that conflict with the interests of the other Class Members.

       37.     Questions of law and fact common to all Plaintiffs and Class Members

predominate over any questions affecting only individual Class Members, including legal and

factual issues relating to liability and damages.




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       38.     Plaintiffs will fairly and adequately represent and protect the interests of the Class

Members. Plaintiffs have retained competent counsel experienced in complex commercial

litigation and class actions to represent themselves and the Class.

       39.     Class action treatment is a superior method for the fair and efficient adjudication

of the controversy, in that, among other things, such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently and without the unnecessary duplication of evidence, effort, and expense that

numerous individual actions would engender. The benefits of proceeding through the class

mechanism, including providing injured persons or entities with a method for obtaining redress

for claims that might not be practicable to pursue individually, substantially outweigh any

difficulties that may arise in management of this class action.

       40.     Absent a class action, most Class members would likely find the cost of litigating

their claims prohibitively high and would therefore have no effective remedy at law. Because of

the relatively small size of the individual Class members’ claims compared to the anticipated

costs of the litigation, it is likely that only a few, if any, Class members could afford to seek legal

redress for the harms caused by Defendants’ actions.

                                            COUNT I
                                         Nationwide Class
                                        Breach of Contract

       41.     Plaintiffs hereby repeat and reallege the allegations contained in paragraphs 1

through 40 above of this complaint, as if fully alleged herein.

       42.     Plaintiffs bring this claim individually and on behalf of the members of the

proposed Nationwide Class against Defendants.


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       43.     Defendants offered the Epic Passes to Plaintiffs and Class Members to provide

access, including skiing and snowboarding, to its North America ski resorts for the entire season

to June 2020 in exchange for Plaintiffs and Class Members payment in full of Pass fees.

       44.     Each Plaintiff and all Class Members accepted Defendants’ contractual offer and

fully performed and complied with all conditions precedent including full payment to Defendants

for the Passes. For the Epic Pass and Epic Local Pass, Defendants received all Pass revenue by

the end of September 2019 for the 2019-20 ski and snowboard season.

       45.     Defendants breached these contracts by retaining Plaintiffs’ and Class Members’

Pass fees while all of their North America ski resorts remain closed, terminating over 30% of the

ski and snowboard season that Defendants contractually promised. Plaintiffs and Class Members

have suffered an injury through the full payment of Pass fees, without a refund, while not having

the contractually promised duration of access to Defendants’ North American ski resorts.

                                          COUNT II
                                       Nationwide Class
                                  Breach of Express Warranty

       46.     Plaintiffs hereby repeat and reallege the allegations contained in paragraphs 1

through 40 above of this complaint, as if fully alleged herein.

       47.     Plaintiffs bring this claim individually and on behalf of the members of the

proposed Nationwide Class against Defendants.

       48.     In connection with its sale of Epic Passes, Defendants made an express warranty

that customers would have unlimited access to their North America ski resorts, or for the Epic

Day Passes, that they would have access to Defendants’ North America ski resorts for a specified

number of days from October 2019 to June 2020.


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       49.     Defendants’ affirmation of fact and promise in their marketing and signage

became part of the basis of the bargain between Defendants and Plaintiffs and Class Members,

thereby creating express warranties that the services would conform to Defendants’ affirmation

of fact, representations, promise, and description.

       50.     Each Plaintiff and all Class Members fully performed and complied with all

conditions precedent including full payment to Defendants for the Passes.

       51.      Defendants breached their express warranty by failing to provide unlimited

access for the duration of the warranted ski and snowboard season to their North America ski

resorts, and, for the Epic Day Passes, by failing to provide access to those resorts when

customers had days remaining on their Epic Day Passes.

       52.     Plaintiffs and the Class Members were injured as a direct and proximate result of

Defendants’ breach because: (a) they would not have purchased or paid for Defendants’ Passes

absent Defendants’ representations and omission of a warning that they would retain Class

Members’ Pass holder fees while all of their North America ski resorts are closed; (b) they would

not have purchased Passes on the same terms absent Defendants’ representations and omissions;

(c) they paid a price premium for Defendants’ Passes based on Defendants’ misrepresentations

and omissions; and (d) Defendants’ Passes did not have the characteristics, benefits, or quantities

as promised.

                                          COUNT III
                                       Nationwide Class
                                  Negligent Misrepresentation

       53.     Plaintiffs hereby repeat and reallege the allegations contained in paragraphs 1

through 40 above of this complaint, as if fully alleged herein.


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       54.     Plaintiffs bring this claim individually and on behalf of the members of the

proposed Nationwide Class against Defendants.

       55.     Defendants misrepresented that customers would have unlimited access to its

North America ski resorts for the duration of the represented ski and snowboard season to June

2020, or, for the Epic Day Passes, that they would have access to Defendants’ North America ski

resorts for a specified number of days during that entire season.

       56.     Defendants made these representations without knowledge of their truth or

veracity.

       57.     Defendants negligently misrepresented and/or negligently omitted material facts

about its Passes and services that its North America ski resorts would unconditionally be

available for the entire 2019-20 ski and snowboard season to June 2020.

       58.     The negligent misrepresentations and omissions made by Defendants, upon which

Plaintiffs and Class Members reasonably and justifiably relied, were intended to induce and

actually induced Plaintiffs and Class Members to purchase Defendants’ Epic Passes.

       59.     As a result of Defendants’ misrepresentations, Plaintiffs and all Class Members

made full payment to Defendants for Epic Passes.

       60.     Plaintiffs and Class Members would not have purchased Defendants’ Epic Passes,

or would not have purchased the services on the same terms, if the true facts had been known.

       61.     The negligent actions of Defendants caused damage to Plaintiffs and Class

Members, who are entitled to damages and other legal and equitable relief as a result.




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                                          COUNT IV
                                        Nationwide Class
                                       Unjust Enrichment

         62.   Plaintiffs hereby repeat and reallege the allegations contained in paragraphs 1

through 40 above of this complaint, as if fully alleged herein.

         63.   Plaintiffs bring this claim individually and on behalf of the members of the

proposed Nationwide Class against Defendant.

         64.   Plaintiffs and Class Members conferred benefits on Defendants by paying in

advance and in full for the Epic Passes they purchased from Defendants.

         65.   Defendants have knowledge of such benefits and accepted those in full payments

knowing the representations they made and services they were to provide in consideration for

those payments, namely, (a) for the Epic Pass holders, unlimited skiing and riding at all North

America ski resorts to June 2020; (b) for the Epic Pass holders, unlimited skiing and riding at all

North America ski resorts to June 2020 with certain limitations at premier resorts and blackout

dates irrelevant to this claim; and (c) for the Epic Day Pass, skiing and riding at the specified

North America ski resorts for the number of days, from one to seven, paid for the duration of the

2019-20 season to June 2020. Defendants developed the Epic Pass program with the specific

purpose to obtain nearly 100% of its ski revenues by the end of September, before the ski season

began.

         66.   As a result of the Vail Closure, Defendants received 100% of the revenues for

their Passes sold to Plaintiffs and Class Members, but Defendants cancelled over 30% of the ski

season depriving Plaintiffs and Class Members of benefits for which they paid Defendants in

full.


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       67.     Defendants eliminated the vast majority of their employees and cut other

operating costs that they otherwise would have incurred had Defendants kept their North

America ski resorts open for the full 2019-20 ski and snowboard season to June 2020, as they

represented. Defendants have been unjustly enriched in retaining the revenues derived from

Plaintiffs and Class Members’ Epic Pass fees, while eliminating the services purchased by

Plaintiffs and Class Members with those Pass fees. Retention of those moneys under these

circumstances is unfair, unjust and inequitable because Defendants are retaining its customers

full Pass fees while all of their North America ski resorts remain closed.

       68.     Because Defendants’ retention of the non-gratuitous benefits conferred on it by

Plaintiffs and Class Members is unfair, unjust, and inequitable, Defendants must pay restitution

to Plaintiffs and Class Members for their unjust enrichment, as ordered by the Court.

                                          COUNT V
                                      Nationwide Class
                       Violation of Colorado Consumer Protection Act,
                              Colo. Rev. Stat. §§ 6-1-101, et seq.

       69.     Plaintiffs hereby repeat and reallege the allegations contained in paragraphs 1

through 40 above of this complaint, as if fully alleged herein.

       70.     Plaintiffs bring this claim individually and on behalf of the members of the

proposed Nationwide Class against Defendants or, alternatively, a Colorado Subclass.

       71.     Defendants are each a “person” as defined by Colo. Rev. Stat. § 6-1-102(6).

       72.     Plaintiffs and Class Members, as well as the general public, are actual or

potential consumers of the products and services offered by Defendants or successors in

interest to actual consumers.



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        73.    Defendants engaged in deceptive trade practices in the course of their business, in

violation of Colo. Rev. Stat. § 6-1-105(1), including, but not limited to, by advertising

nationwide that purchasers of their Epic Passes have unlimited, unrestricted skiing and

snowboarding at Defendants’ North America ski resorts for the entire 2019-20 ski season to June

2020.

        74.    By engaging in deceptive trade practices in the course of their business and

vocation, directly or indirectly affecting the people of Colorado and all other states where Epic

Passes were sold, Defendants violated Colo. Rev. Stat. § 6-1-105(g) b y representing that goods

and services are of a particular standard or quality when they knew or should have known that

they are of another.

        75.    In particular, Defendants represented that the purchasers of Epic Passes would

obtain “the best value and variety for unlimited skiing and riding” at their North America ski

resorts for the entire ski season through at least May 2020, when in fact Defendants knew or

should known that in the event that they closed all of their North America ski resorts before the

end of the ski season they would retain 100% of the price paid to Defendants for the Passes.

        76.    Defendants’ representations and omissions were material because they were

likely to deceive reasonable consumers if Defendants failed to keep their North America ski

resorts open for the duration of the ski and snowboard season as promised.

        77.    Plaintiffs and the Class Members acted reasonably when they purchased

Defendants’ Passes based on their belief that Defendants’ representations were true and lawful.

        78.    Defendants’ actions violate Colorado’s         Consumer Protection      Act,    and

recklessly disregarded Plaintiffs and Class Members’ rights by accepting Plaintiffs’ and Class


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Members’ payments in full for the Epic Passes, which were represented to allow Pass holders the

ability to ski and snowboard to June 2020, but by prematurely closing its resorts and refusing to

refund the fees paid by Plaintiffs and Class Members.

       79.     As a direct and proximate result of Defendants’ deceptive trade practices,

Plaintiffs and the Class Members suffered injuries to their legally protected interests, including

because: (a) they would not have purchased or paid for Defendants’ Passes absent Defendants’

representations and omission of a warning that they would retain 100% of Class Members’ Pass

holder fees while all Vail North America ski resorts are closed; (b) they would not have purchased

Passes on the same terms absent Defendants’ representations and omissions; (c) they paid a price

premium for Defendants’ Passes based on Defendants’ misrepresentations and omissions; and (d)

Defendants’ Passes did not have the characteristics, benefits, or quantities as promised.

       80.     Defendants’ deceptive trade practices significantly impact the public because

Defendants operate at least 34 North American ski resorts and, on information and belief, sell a large

number of ski passes to consumers located in Colorado and every other state.

       81.     Plaintiffs and the Class Members seek all monetary and non-monetary relief

allowed by law, including the greater of: (a) actual damages, or (b) $500, or (c) three times

actual damages (for Defendants’ bad faith conduct); injunctive relief; and reasonable attorneys’

fees and costs.

                                         COUNT VI
                                     California Subclass
                     Violation of California’s Unfair Competition Law,
                   California Business & Professions Code §§ 17200, et seq.

       82.     The California Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the California Subclass, repeats and realleges the

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allegations contained in paragraphs 1 through 40 above of this complaint, as if fully alleged

herein

         83.   Plaintiff brings this claim individually and on behalf of members of the proposed

California Subclass, who are citizens of California, against Defendants.

         84.   Defendants are subject to California’s Unfair Competition Law (“UCL”), Cal.

Bus. & Prof. Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair competition

shall mean and include unlawful, unfair or fraudulent business practices and unfair, deceptive,

untrue or misleading advertising….”

         85.   Defendants advertised and represented that their Pass holders would have “the

best value and variety for unlimited skiing and riding” at their North America ski resorts for the

entire ski season to June 2020. That representation was false and misleading to a reasonable

consumer, including Plaintiff and the California Subclass Members, because Defendants in fact

closed all of their North America ski resorts after only two-thirds of the ski season while

retaining 100% of the price paid to Defendants by Class Members for the Passes.

         86.   Defendants’ business practices, described herein, violated the “unfair” prong of

the UCL in that their conduct of refusing to issue refunds to Plaintiffs and Class Members is

substantially injurious to consumers, offends public policy, and is immoral, unethical,

oppressive, and unscrupulous, as the gravity of the conduct outweighs any alleged benefits.

Defendants’ advertising of their Passes as being available for use at any time during the entire ski

and snowboard season to June 2020 and their retention of Pass fees while their North America

ski resorts are closed is of no benefit to consumers, but rather, is a substantial detriment.




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          87.   Plaintiff and the California Subclass Members acted reasonably when they

purchased Passes from Defendants based on the belief that they would have unlimited access to

Defendants’ North America ski resorts for the entire 2019-20 ski season to June 2020.

          88.   Plaintiff and the California Subclass Members lost money or property as a result

of Defendants’ UCL violations because Plaintiff and the California Subclass Members suffered

injuries caused by Defendants because: (a) they would not have purchased or paid for

Defendants’ Passes absent Defendants’ representations and omission of a warning that they

would retain Class Members’ Pass holder fees while all of their North America ski resorts are

closed; (b) they would not have purchased Passes on the same terms absent Defendants’

representations and omissions; (c) they paid a price premium for Defendants’ Passes based on

Defendants’ misrepresentations and omissions; and (d) Defendants’ Passes did not have the

characteristics, benefits, or quantities as promised.

                                          COUNT VII
                                      California Subclass
                   Violation of California’s Consumers Legal Remedies Act,
                             California Civil Code §§ 1750, et seq.
                                    (Injunctive Relief Only)

          89.   The California Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the California Subclass, repeats and realleges the

allegations contained in paragraphs 1 through 40 above of this complaint, as if fully alleged

herein.

          90.   Plaintiff brings this claim individually and on behalf of members of the proposed

California Subclass against Defendants.




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       91.     Plaintiff and California Subclass Members are residents of California and

consumers who paid fees for use of Defendants’ North America ski resorts for personal, family

or household purposes. Plaintiff and the California Subclass Members are “consumers” as that

term is defined by California’s Consumers Legal Remedies Act (“CLRA”) in Cal. Civ. Code §

1761(d).

       92.     Access to Defendants’ North America ski resort that Plaintiff and the California

Subclass Members purchased from Defendants was a “good” or “service” within the meaning of

Cal. Civ. Code §§ 1761(a) and (b).

       93.     Defendants’ actions, representations, and conduct have violated, and continue to

violate the CLRA, because they extend to transactions that intended to result, or which have

resulted in, the sale of goods or services to consumers.

       94.     Defendants’ advertising and marketing that consumers would have “unlimited

skiing and riding” at all of their North America ski resorts and that their customers would have

access to its ski resorts upon paying a fee is false and misleading to a reasonable consumer,

including Plaintiff, because Defendants in fact closed all of their North America ski resorts

effective March 15, 2020, about one-third short of the promised duration of the ski and

snowboard season, while continuing to retain the full price Class Members’ paid for Defendants’

Epic Passes

       95.     California’s CLRA, Cal. Civ. Code § 1770(a)(5), prohibits “[r]epresenting that

goods or services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

quantities which they do not have or that a person has a sponsorship, approval, status, affiliation,

or connection which he or she does not have.” By engaging in the conduct set forth herein,


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Defendants violated and continue to violate Section 1770(a)(5) of the CLRA, because

Defendants’ conduct constitutes unfair methods of competition and unfair acts or practices, in

that Defendants misrepresented the particular characteristics, benefits and quantities of the

services.

          96.   Under the CLRA, Cal. Civ. Code § 1770(a)(7) prohibits representing that goods

or services are of a particular standard, quality, or grade, or that goods are of a particular style or

model, if they are of another. By engaging in the conduct set forth herein, Defendants violated

and continue to violate Section 1770(a)(7) of the CLRA, because Defendants’ conduct

constitutes unfair methods of competition and unfair or fraudulent acts or practices, in that

Defendants’ actions in March 2020 in shuttering all of their North America ski resorts were

contrary to the services advertised.

          97.   Plaintiff and the California Subclass Members acted reasonably when they

purchased Defendants’ Passes on the belief that Defendants’ representations were true and

lawful.

          98.   Plaintiff and the California Subclass Members suffered injuries caused by

Defendants because: (a) they would not have purchased or paid for Defendants’ Passes absent

Defendants’ representations and omission of a warning that they would retain Class Members’

Pass holder fees while all of their North America ski resorts are closed; (b) they would not have

purchased Passes on the same terms absent Defendants’ representations and omissions; (c) they

paid a price premium for Defendants’ Passes based on Defendants’ misrepresentations and

omissions; and (d) Defendants’ Passes did not have the characteristics, benefits, or quantities as

promised.


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          99.    Under the CLRA, Civil Code § 1780(a), Plaintiff and Members of the California

Subclass seek injunctive and equitable relief for Defendants’ violations of the CLRA. Plaintiff

has mailed or will mail an appropriate demand letter consistent with California Civil Code §

1782(a). If Defendants fail to take corrective action within 30 days of receipt of the demand

letter, Plaintiff will amend this complaint to include a request for damages as permitted by Civil

Code § 1782(d).

          100.   Wherefore, Plaintiff seeks injunctive and equitable relief for Defendants’

violations of the CLRA.

                                         COUNT VIII
                                    Massachusetts Subclass
                      Violation of Massachusetts Consumer Protection Act,
                           Mass. Gen. Laws Ann. Ch. 93A, §§ I, et seq.

          101.   The Massachusetts Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Massachusetts Subclass, repeat and reallege the

allegations contained in paragraphs 1 through 40 above of this complaint, as if fully alleged

herein.

          102.   Plaintiff brings this claim individually and on behalf of members of the proposed

Massachusetts Subclass, who are Massachusetts residents, against Defendants.

          103.   The Massachusetts Consumer Protection Act (“MCPA”), Mass. Gen. Laws, Ch.

93A, et seq., makes it unlawful to engage in any “unfair or deceptive acts or practices

in the conduct of any trade or commerce” and, in interpreting its provisions, requires

consideration be given to interpretations by the Federal Trade Commission (“FTC”) relating to §

5 of the FTC Act. See Mass. Gen. Laws, Ch. 93A §§ 2(a) and (b).



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       104.    Defendants, Plaintiff, and Massachusetts Subclass Members each are “persons” as

defined by Mass. Gen. Laws, Ch. 93A, § 1(a).

       105.    Defendants operate in “trade” or “commerce” as defined by Mass. Gen. Laws

Ann. Ch. 93A, § 1(b).

       106.    Defendants advertised, offered, or sold goods or services in Massachusetts and

engaged in trade or commerce directly or indirectly affecting the people of Massachusetts, as

defined by Mass. Gen. Laws Ann. Ch. 93A, § 1(b).

       107.    Defendants engaged in unfair methods of competition and unfair or deceptive acts

and practices in the conduct of trade or commerce, in violation of Mass. Gen. Laws Ann. Ch.

93A, §§ 2(a) and 9, including, but not limited to, by closing all of their North America ski resorts

after approximately two-thirds of the duration of the represented ski season while retaining 100%

of the price paid to Defendants for the Passes despite advertising that their Pass holders would

have “unlimited skiing and riding” at their North America ski resorts for the entire ski season to

June 2020.

       108.    Defendants’ conduct is unfair within the meaning of Chapter 93A of the MCPA

because it constitutes immoral, unethical, oppressive, and unscrupulous activity, caused

substantial injury to consumers and businesses, and provided no benefit to consumers or

competition.

       109.    As a direct and proximate result of Defendants’ deceptive trade practices, Plaintiff

and the Massachusetts Subclass Members suffered injuries to their legally protected interests,

including because: (a) they would not have purchased or paid for Defendants’ Epic Passes absent

Defendants’ representations and omission of a warning that they would retain Class Members’


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Pass holder fees while all of their North America ski resorts are closed; (b) they would not have

purchased the Passes on the same terms absent Defendants’ representations and omissions; (c)

they paid a price premium for Defendants’ Passes based on Defendants’ misrepresentations and

omissions; and (d) Defendants’ Passes did not have the characteristics, benefits, or quantities as

promised.

          110.   Plaintiff and the Massachusetts Subclass Members seek all monetary and non-

monetary relief allowed by law, including actual damages, double or treble damages,

injunctive or other equitable relief, and attorneys' fees and costs.

                                           COUNT IX
                                     Minnesota Subclass
                         Violation of Minnesota Consumer Fraud Act,
                 Minn. Stat. §§ 325F.68, et seq. a nd Minn. St at. § § 8.31, et seq.

          111.   T he Minnesota Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Minnesota Subclass, repeats and realleges the

allegations contained in paragraphs 1 through 40 above of this complaint, as if fully alleged

herein.

          112.   Plaintiff brings this claim individually and on behalf of members of the proposed

Minnesota Subclass, who are residents of Minnesota, against Defendants.

          113.   Defendants, Plaintiff, and the Minnesota Subclass Members are each a “person”

as defined by Minn. Stat. § 325F.68(3).

          114.   Defendants’ services available to purchasers of their Epic Passes are

“merchandise” as defined by Minn. Stat. § 325F.68(2).

          115.   Defendants engaged in “sales” as defined by Minn. Stat. § 325F.68(4).



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       116.    Defendants engaged in false promises, misrepresentations, misleading statements,

or deceptive practices in connection with the sale of merchandise, in violation of Minn. Stat. §

325F.69(1), as described herein.

       117.    Defendants’ misrepresentations and omissions described herein were material

because they were likely to deceive reasonable consumers.

       118.    Defendants intended to induce Plaintiff and the Minnesota Subclass Members to

rely on their misrepresentations and omissions by representing, promoting, and advertising that

purchasers of Defendants’ Epic Passes would have “unlimited skiing and riding” at Defendants’

North America ski resorts for the entire 2019-20 ski season to June 2020.

       119.    Defendants’ misleading, or deceptive practices affected the public interest,

including Minnesotans who purchased Epic Passes from Defendants.

       120.    As a direct and proximate result of Defendants’ deceptive acts and practices,

Plaintiff and the Minnesota Subclass Members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

from not receiving the benefit of their bargain in purchasing Epic Passes.

       121.    Plaintiff and the Minnesota Subclass Members seek all monetary and non-

monetary relief allowed by law, including damages, injunctive or other equitable relief, and

attorneys’ fees, disbursements, and costs.




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                                        COUNT X
                                    Minnesota Subclass
               Violation of Minnesota Uniform Deceptive Trade Practices Act,
                               Minn. Stat. §§ 325D.43, et seq.

       122.    The Minnesota Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Minnesota Subclass, repeats and realleges the allegations

contained in paragraphs 1 through 40 above of this complaint, as if fully alleged herein.

       123.    Plaintiff brings this claim individually and on behalf of the proposed Minnesota

Subclass Members, who are Minnesota residents, against Defendants.

       124.    Defendants engaged in deceptive trade practices in the course of their business, in

violation of Minnesota’s Uniform Deceptive Trade Practices Act (“MNUDTPA”), Minn. Stat.

§ 325D.44, including, but not limited to, by advertising that purchasers of Defendants’ Epic

Passes would have unlimited, unrestricted skiing at Defendants’ North America ski resorts for

the entire 2019-20 ski season to June 2020.

       125.    By engaging in deceptive trade practices in the course of their business and

vocation, directly or indirectly affecting the people of Minnesota, Defendants violated Minn.

Stat. § 325D.44, including the following provisions: representing that their goods and services

had characteristics, uses, and benefits that they did not have, in violation of Minn. Stat. §

325D.44(1)(5); representing that goods and services are of a particular standard or quality when

they are of another, in violation of Minn. Stat. § 325D.44(1)(7); and engaging in other conduct

which similarly creates a likelihood of confusion or misunderstanding, in violation of

Minn. Stat. § 325D.44(1)(13).

       126.    Defendants’ representations and omissions were material because they were

likely to deceive reasonable consumers.

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       127.    Defendants intended to induce Plaintiff and the Minnesota Subclass Members to

rely on their misrepresentations and omissions.

       128.    Defendants recklessly disregarded the rights of Plaintiff and the Minnesota

Subclass Members.

       129.    As a direct and proximate result of Defendants’ deceptive trade practices,

Plaintiff and the Minnesota Subclass Members suffered injuries to their legally protected

interests, including because: (a) they would not have purchased or paid for Defendants’ Epic

Passes absent Defendants’ representations and omission of a warning that they would retain Class

Members’ Pass holder fees while all of their North America ski resorts nationwide are closed; (b)

they would not have purchased Passes on the same terms absent Defendants’ representations and

omissions; (c) they paid a price premium for Defendants’ Passes based on Defendants’

misrepresentations and omissions; and (d) Defendants’ Passes did not have the characteristics,

benefits, or quantities as promised.

       130.    Plaintiff and the Minnesota Subclass Members seek all monetary and non-

monetary relief allowed by law, including injunctive relief and attorneys’ fees and costs.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, seek

judgment against Defendants, as follows:

       a)      For an order certifying the Class under Rule 23 of the Federal Rules of Civil

               Procedure and naming Plaintiffs as representatives of the Class and Plaintiffs’

               attorneys as Class Counsel to represent the Class Members;




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    b)    For an order certifying the Subclasses under Rule 23 of the Federal Rules of Civil

          Procedure and naming the California Plaintiff as representative of the California

          Subclass, the Colorado Plaintiff as representative of the Colorado Subclass, the

          Massachusetts Plaintiff as representative of the Massachusetts Subclass, the

          Minnesota Plaintiff as representative of the Minnesota Subclass, and Plaintiffs’

          attorneys as Class Counsel to represent the Subclasses’ Members.

    c)    For an order declaring that Defendants’ conduct violates the statutes and laws

          referenced herein;

    d)    For an order finding in favor of Plaintiffs, the Class, and the Subclasses, on all

          counts asserted herein;

    e)    For compensatory damages in an amount to be determined by the Court and/or

          jury;

    f)    For prejudgment interest on all amounts awarded;

    g)    For an order of restitution and all other forms of equitable monetary relief;

    h)    For injunctive relief as pleaded or as the Court may deem proper; and

    i)    For an order awarding Plaintiffs and the Class their reasonable attorneys’ fees and

          expenses and costs of suit.




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                                        JURY DEMAND

       Plaintiffs demand a trial by jury on all causes of action and issues so triable.

                                              HELLMUTH & JOHNSON, PLLC

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